                  Case 1:17-cv-03139-LGS-SDA Document 585-1 Filed 05/19/23 Page 1 of 1


Damian Cavaleri

From:                                          Damian Cavaleri
Sent:                                          Friday, May 19, 2023 12:02 PM
To:                                            mdellangelo@bm.net; mkane@bm.net
Cc:                                            Scott O. Luskin
Subject:                                       Contant v. Bank of America et al., - Briefing Schedule for Motion for Disbursement


Dear Michael and Michael,

To follow up my call with Michael Kane, I am reaching out regarding a proposed brieﬁng schedule related to your mo on
for disbursement ﬁled yesterday evening. We propose that any opposi on be ﬁled on or before June 2, 2023, with any
reply to be ﬁled on or before June 9, 2023. Please let me know if you agree. If so, we can ﬁle a joint le er proposing
such brieﬁng schedule.

Regards,
Damian

Damian R. Cavaleri




One Grand Central Place
60 East 42nd Street, 48th Floor
New York, NY 10165
T 212.689.8808 | F 212.689.5101

website | bio | vCard | email

This email transmission constitutes an electronic communication within the meaning of the Electronic Communications Privacy Act, 18 U.S.C. Section 2510, and its
disclosure is strictly limited to the recipient(s) intended by the sender of this message. This transmission, and any attachments, may contain confidential attorney-
client privileged information and attorney work product. Any unauthorized disclosure, copying, distribution or use of any of the information contained in or attached
to this transmission is prohibited. If you are not an intended recipient, please notify the sender by reply email and immediately delete and/or destroy the original
transmission and any attachments.




                                                                                  1
